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                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

David J. Smith                                                                          For rules and forms visit
Clerk of Court                                                                          www.ca11.uscourts.gov


                                            May 20, 2022

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 22-10665-GG
Case Style: USA v. Leonel Cabeza
District Court Docket No: 1:21-cr-20383-KMM-3

Electronic Filing
All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at www.pacer.gov. Information
and training materials related to electronic filing are available on the Court's website.

Briefing
Pursuant to 11th Cir. R. 31-1, the appellant's brief is due on or before June 13, 2022. The
appendix is due 7 days after the appellant's brief is filed. An incarcerated pro se party is not
required to file an appendix.

The appellee's brief is due within 30 days after the service of the last appellant's brief. The
appellant's reply brief, if any, is due within 21 days after the service of the last appellee's brief.
This is the only notice you will receive regarding the due date for briefs and appendices.

Please see FRAP 32(a) and the corresponding circuit rules for information on the form of briefs
and FRAP 32(b) and 11th Cir. Rules 30-1 and 30-2 for information on the form of appendices.

This is the only notice you will receive concerning the due date for filing briefs and appendices.
See Fed.R.App.P. 28, 30, 31, 32, the corresponding circuit rules, General Order 39 and the
Guide to Electronic Filing for further information. Pro se parties who are incarcerated are not
required to file an appendix.

If you have not entered your appearance in this appeal, please note that the clerk may not
process your filings. See 11th Cir. R. 46-6. Appearance of Counsel Forms are available on the
court's Web site.

Attorneys must file briefs electronically using the ECF system. Use of ECF does not modify the
requirements of the circuit rules that counsel must also provide four (4) paper copies of a brief
to the court, nor does it modify the requirements of the circuit rules for the filing of appendices
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in a particular case.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Joseph Caruso, GG
Phone #: (404) 335-6177

                                               BR-1 Criminal appeal briefing ntc issued
